     ƩƩƦƤ18-68467-pmb
SEQ:Case                                                 ŬîĒĸŬŧďŧĨÌİŧÌ
                                         Doc 6    Filed    11/02/18 Entered
                                                   ƤƣƣƢYĸİóŠçĸŚĸĸÌî£İĒĸİ ĒŧƈƸAÌƣƠƢƩơ 11/02/18 15:36:44      EARNINGS
                                                                                                                     Desc Main STATEMENT
EMPLOYEE NAME / ADDRESS                           Document               Page 1 of 1       SSN    REPORTING PERIOD    PAY DATE    EMPLOYEE ID

YnG£¹J]]Je¹&&,]]                                                            ¾¾¾ǎ¾¾ǎƤƥƧƨ      ƠƩǃƢơǃƢƠơƨǎ     ơƠǃƢƣǃƢƠơƨ       ƠƦơƨ
ơƢƤƣƠ¹ďĒŧóŠĒîóĸÌîÌĨįóŧŧĸƸAÌƣƠƢƦƨ                                                               ơƠǃƢƠǃƢƠơƨ
INCOME                                           RATE     HRS   CURRENT PAY DEDUCTIONS                             TOTAL TAX      YTD TOTAL
An,fJfA                                   ]¿            ƦơƣƥƽƢƠ       STATUTORY DEDUCTIONS
                                                                                 FICA - MEDICARE                        ƨƨƽƩƦ        ƣƥƥƽƨƤ
                                                                                 FICA - SOCIAL SECURITY                ƣƨƠƽƣƨ       ơƥƢơƽƥƢ
                                                                                 FEDERAL TAX                          ơơƤƨƽƧƥ       ƤƥƩƥƽƠƠ
                                                                                 GA STATE TAX                          ƣƦƨƽơơ       ơƤƧƢƽƤƤ




                                                   YTD GROSS    YTD DEDUCTIONS    YTD NET PAY        TOTAL         DEDUCTIONS      NET PAY
                          4332 Jonesboro Road
                           Union City,Ga 30291     ƢƤƥƤƠƽƨƠ        ƧƩƤƤƽƨƠ         ơƦƥƩƦƽƠƠ         ƦơƣƥƽƢƠ         ơƩƨƦƽƢƠ        ƤơƤƩƽƠƠ
